                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

RICHARD LEE BROWN, ET AL.,             :
                                       :       CIVIL ACTION NO.:
                                       :       1:20-cv-3702-WMR
                                       :
                   Plaintiffs,         :
                                       :
            v.                         :
                                       :
SEC. ALEX AZAR, ET AL.,                :
                                       :
                   Defendants.         :

PLAINTIFFS’ NOTICE WITHDRAWING THEIR MOTION FOR LEAVE
TO FILE AND MOTION FOR A TEMPORARY RESTRAINING ORDER

      Plaintiffs Richard Lee (Rick) Brown, Jeffrey Rondeau, David Krausz, Sonya

Jones and the National Apartment Association (NAA) hereby withdraw their Motion

for Leave to File Excess Pages (ECF No. 5) and Motion for Temporary Restraining

Order (ECF No. 6) as those motions are now moot.

      In support of the motion, Plaintiffs say as follows:

1.    Undersigned counsel filed a complaint in this matter on September 8, 2020

(ECF No. 1).

2.    That same day counsel filed a Motion for Temporary Restraining Order (ECF

No. 6) and a related Motion for Leave to File Excess Pages (ECF No. 5).

3.    Plaintiffs filed an amended complaint on September 18, 2020.


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4.    Because the amended complaint included additional plaintiffs in this matter,

it is necessary for counsel to revise the request for preliminary relief.

5.    Accordingly, Plaintiffs intend to file a new Motion for a Preliminary

Injunction and accompanying Motion for Leave to File Excess Pages related to an

accompanying memorandum of law in support of the motion.

6.    Plaintiffs therefore withdraw the pending motions, which will be replaced by

forthcoming filings.

WHEREFORE Plaintiffs hereby withdraw their Motion for Leave to File Excess

Pages (ECF No. 5) and Motion for Temporary Restraining Order (ECF No. 6).

September 18, 2020

                                        Respectfully,

                                        /s/ James W. Hawkins
                                        James W. Hawkins
                                        Georgia State Bar No. 338767
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                                        /s/ Caleb Kruckenberg
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(202) 869-5210
Admitted Pro Hac Vice
Counsel for Plaintiffs




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                       CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing court filing has been prepared in 14-point

Times New Roman font and complies with LR 5.1, NDGa and LR 7.1(D), NDGa.

                                               /s/ Caleb Kruckenberg
                                               Caleb Kruckenberg
                                               Counsel for Plaintiffs

                          CERTIFICATE OF SERVICE

      I hereby certify that on September 18, 2020, I electronically filed the

foregoing with the Clerk of Court using the CM/ECF system which sent

notification of such filing to all counsel of record.


                                               /s/ Caleb Kruckenberg
                                               Caleb Kruckenberg
                                               Counsel for Plaintiff
